                   UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA,             )
                                      )                     CASE NO: 3:06-cr-00169-1
v.                                    )
                                      )                        ORDER DENYING
DESMOND AARON GREENE.                 )                     INTERIM CJA PAYMENT
__________________________________________
                                      )

       This matter is before the Court on counsel’s Motion for Interim CJA Payment.

        Without a showing of an extraordinary need or circumstance, it is the policy of
this Court not to approve interim CJA fees. Until the completion of the case, the Court
can not adequately assess whether counsel has effectively represented a client and earned
the fees requested.

      WHEREFORE, it is hereby ORDERED that an interim CJA payment to David Q.
Burgess is DENIED.

                                        Signed: December 18, 2006




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